                             11TH COURT OF APPEALS
                                EASTLAND, TEXAS
                                    JUDGMENT

John Deaton and                              * From the 48th District Court
Deaton Law Firm, LLC,                          of Tarrant County,
                                               Trial Court No. 048-283747-16.

Vs. No. 11-23-00126-CV                       * August 21, 2024

Law Offices of Steven M. Johnson, P.C.,      * Opinion by Trotter, J.
                                               (Panel consists of: Bailey, C.J.,
                                               Trotter, J., and Williams, J.

    This court has inspected the record in this cause and concludes that there is no
error in the judgment below. Therefore, in accordance with this court’s opinion,
the judgment of the trial court is in all things affirmed. The costs incurred by
reason of this appeal are taxed against John Deaton and Deaton Law Firm, LLC.
